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13
                                       UNITED STATES DISTRICT COURT
14
                                    NORTHERN DISTRICT OF CALIFORNIA
15
                                           SAN FRANCISCO DIVISION
16

17   UNITED STATES OF AMERICA,                         )   CASE NO. CR 22-0036 CRB
                                                       )
18           Plaintiff,                                )   DECLARATION OF TRIAL ATTORNEY S. BABU
                                                       )   KAZA IN SUPPORT OF UNITED STATES’
19      v.                                             )   OPPOSITION TO DEFENDANT’S MOTION TO
                                                       )   WITHDRAW GUILTY PLEA
20   JULI MAZI,                                        )
                                                       )
21           Defendant.                                )
                                                       )
22

23           I, S. Babu Kaza, declare as follows:
24           1.       I am a Trial Attorney with the Criminal Division, Fraud Section. I am assigned to the
25 prosecution of the above-referenced case. I make this declaration in support of United States’

26 Opposition to Defendant’s Motion for Withdrawal of Guilty Plea.

27           2.       The defendant engaged in two complex proffer sessions with the prosecution, wherein
28 she fully explained her scheme to fabricate fake vaccination cards, and identified records and receipts

     KAZA DECL. RE DEF’S MOT. WITHDRAW PLEA            1
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 1 relevant to the offense. The first proffer session occurred on October 27, 2021, and was approximately

 2 two hours in length. The second proffer session was on April 6, 2022, and was approximately one hour

 3 in length. The defendant did not display or express any indications of coercion or lack of mental

 4 responsibility.

 5          3.       The defendant, through her counsel, made specific efforts to communicate to the

 6 prosecution that she was devoting an extensive number of hours to gather evidence of her criminal

 7 conduct. Specifically, on or about January 20, 2022, the defendant communicated that she had spent 72

 8 hours reviewing customer records and receipts, and preparing a spreadsheet of her data. On April 5,

 9 2022, the defendant indicated that, pursuant to a request from the prosecution, she spent 6 hours

10 compiling email communications between herself and her office manager.

11          I declare, under penalty of perjury, that the foregoing is true and correct. Executed this 18th day

12 of July 2022.

13                                                         /s/ S. Babu Kaza
                                                          S. BABU KAZA
14                                                        Trial Attorney

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     KAZA DECL. RE DEF’S MOT. WITHDRAW PLEA           2
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